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                No. 23-1825, 23-1826, 23-1827, 23-1828

             UNITED STATES COURT OF APPEALS
                FOR THE SEVENTH CIRCUIT
                      ________________
                        CALEB BARNETT, et al.,
                                               Plaintiffs-Appellees,
                                    v.

 KWAME RAOUL, Attorney General of Illinois, and BRENDAN F. KELLY,
               Director of the Illinois State Police,
                                           Defendants-Appellants.
                           ________________

       On Appeal from the United States District Court for the
                    Southern District of Illinois,
                          No. 23-cv-00209
                         ________________

  BRIEF AMICUS CURIAE ON BEHALF OF THE AMERICAN
  FIREARMS ASSOCIATION IN SUPPORT OF PLAINTIFFS-
            APPELLEES AND AFFIRMANCE
                   ________________
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June 22, 2023
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                CORPORATE & FINANCIAL DISCLOSURE STATEMENT

      Pursuant to Seventh Circuit Local Rule 26.1, amicus makes the following

declarations:

      The American Firearms Association is a 501(c)(4) nonprofit advocacy

organization dedicated to defending the Second Amendment rights of all Americans.

Amicus does not have a parent corporation or issue shares of stock. No publicly held

corporation has a direct financial interest in the outcome of this litigation due to

amicus’s participation.

/s/ Trevor Burrus
June 23, 2023
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                                INTEREST OF AMICUS CURIAE1

       The American Firearms Association (AFA) is a nonprofit organized under

section 501(c)(4) of the Internal Revenue Code. The AFA is a nationwide grassroots

mobilization organization that fights to for the rights guaranteed by the Second

Amendment. AFA fights on behalf of its members to defend the Second Amendment

and natural right to self-defense in both the legislatures and in courts.

       This case concerns AFA because laws like Illinois’s “assault weapons” ban

infringe on the Second Amendment rights of the state’s residents. Other states have

recently passed similar gun laws, and more are likely to do so in the future.

Constitutional guidance from federal courts is needed.




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  Fed. R. App. P. 29 Statement: Most Plaintiffs-Appellees in this consolidated case consented to this
filing, including counsel for Barnett (23-1825), Harrel (23-1826), Federal Firearms Licensees of
Illinois (23-1828), and Herrera (23-1793). Counsel for Langley (23-1827) did not respond to the
consent request. Defendant-Appellees Cook County denied consent, and Defendant-Appellees the
City of Chicago and the State of Illinois agreed to consent only if this brief were filed on the same
day as Plaintiffs-Appellees’ brief. A motion for leave to file is therefore attached. No counsel for
either party authored this brief in whole or in part. No person or entity other than amicus and its
members made a monetary contribution to its preparation or submission.


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                           SUMMARY OF ARGUMENT

      This group of consolidated cases all address the crucial question of how so-

called “assault weapons” should be treated under the Second Amendment. But this

case isn’t about “assault weapons,” it’s about normal semiautomatic guns and

accompanying magazines that are among the most commonly owned types of guns in

the country. While parties in this case, courts, scholars, and commentators have been

debating the term “assault weapons” for decades, the rhetorical gamesmanship here

matters. The First Amendment would be completely toothless if legislatures were

freely allowed to pass “bad speech” bills—or even “assault speech” bills—and courts

took the legislature’s characterization as facially valid. Similarly, the Second

Amendment and the decisions in Heller and Bruen require more than trusting the

legislature that such weapons are “assault weapons.”

      Illinois’s HB5471 is one of the broadest gun prohibitions recently passed in the

United States. The law bans almost 1,000 models of rifles, including the AR-15, the

most popular rifle in the country. It also bans many semiautomatic pistols and

shotguns, as well as ammunition feeding devices that can hold more than 10 rounds

for rifles and 15 rounds for handguns. 720 ILCS 5/24-1.10(a)(1). All in all, the ban

encompasses a huge amount of commonly owned weapons. In fact, the number of

arms and accessories affected by the ban is so large that it would be impossible to

estimate how many are in the country, much less the state of Illinois. And more guns

can be added in the future since the law allows the State Police to add to the list. 720

ILCS 5/24-1.9(d)(3). Illinois’s ban includes so many commonly owned firearms and




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accessories that it’s possible a majority of gun owners in the state could run afoul of

the law. In other words, the banned arms and accessories meet any reasonable

definition of “common use.”

      In New York State Rifle and Pistol Association v. Bruen, the Supreme Court

clarified that the “Second Amendment protects the possession and use of weapons

that are ‘in common use.’” N.Y. State Rifle & Pistol Ass’n, Inc. v. Bruen, 142 S. Ct.

2111, 2128 (2022) (quoting District of Columbia v. Heller, 554 U.S. 570, 627 (2008)).

While some disagree with policies that allow law-abiding citizens to own common

firearms, the Second Amendment “elevates above all other interests the right of law-

abiding, responsible citizens to use arms for self-defense.” Id. at 2131. Until the

Constitution is duly amended, courts are obliged to give constitutional text, history,

and tradition proper weight.

      Amicus is a nationwide gun-rights groups that is concerned with how brazenly

Illinois’s law violates the Second Amendment and the Court’s decision in Bruen. The

banned weapons are clearly “arms” and thus presumptively protected by the text of

the Second Amendment. Bruen, 142 S. Ct. at 2126. Around the country, and in

Illinois, the semiautomatic firearms at issue have been overwhelmingly purchased by

law-abiding citizens for self-defense, target shooting, hunting, and defense against

oppressive government. In fact, nationwide, there are more modern sporting rifles

(MSRs) (a much better term than “assault weapon”) in private hands than there are

Ford F-Series pickups on the streets, one of the most popular cars in the country.

Kolbe v. Hogan, 813 F.3d 160, 174 (4th Cir. 2016) rev’d, 849 F.3d 114 (4th Cir. 2017)




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(en banc) (“in 2012, the number of AR- and AK-style weapons manufactured and

imported into the United States was more than double the number of Ford F-150

trucks sold, the most commonly sold vehicle in the United States.”). And almost none

of those MSRs are being used for crime.

         MSRs were (and are) normal, everyday rifles until they were re-christened

“assault weapons” to sound more menacing. The term is often linked to a 1988 paper

by gun-control activist Josh Sugarmann of the Violence Policy Center. Sugarmann

felt the incendiary term, coupled with public ignorance, could increase support for

banning the weapons: “The weapons’ menacing looks, coupled with the public’s

confusion over fully automatic machine guns versus semi-automatic assault

weapons—anything that looks like a machine gun is assumed to be a machine gun—

can only increase the chance of public support for restrictions on these weapons.”

Aaron Blake, “Is it fair to call them ‘assault weapons’?,” Wash. Post (Jan. 17, 2013),

https://perma.cc/8HCC-FZGK. Inventing a term like “assault weapon” and then

applying it to an ad hoc group of weapons does not change the Second Amendment’s

scope.

         Like many other states that ban MSRs and other semiautomatic weapons, the

Illinois law bans some weapons by name and others by characteristics. The

characteristics singled out, however, do not make the banned guns any less commonly

used for lawful purposes, nor do they make the weapons “dangerous and unusual.”

Bruen, 142 S. Ct. at 2128 (quoting Heller, 554 U.S. at 627); see also Caetano v.

Massachusetts, 577 U.S. 411, 417 (2016) (Alito, J., concurring in the judgment)




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(explaining that the test is conjunctive and “[a] weapon may not be banned unless it

is both dangerous and unusual.”). That millions of Americans use the banned

weapons for lawful purposes sufficiently demonstrates that Illinois’s ban cannot be

sustained under the Second Amendment and the Supreme Court’s precedents.

      Yet the government insists on arguing that the guns are uniquely dangerous

and highlights the military’s use of similar weapons to demonstrate they are

“weapons of war” that are “methodically designed to quickly maximize casualties on

a battlefield.” Cook County Br. at 5. Even if the military’s choice of weapons

determined—or even affected—the scope of the Second Amendment, these claims do

not stand up to scrutiny. The military’s analog to the AR-15—the M-16—is

significantly and importantly different, and why the military chooses a particular

small arm depends on numerous factors that, nevertheless, do not affect whether a

type of firearm is in common use for lawful purposes.

      Because Illinois’s law flouts current doctrine and is one of the broadest gun

prohibitions in the country, this Court should affirm the preliminary injunction that

was correctly granted by the district court in the consolidated Barnett cases.




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                                 ARGUMENT
   I.      The Bruen Decision Presumptively Protects “Arms,” Which
           Includes the Type of Arms Singled-Out by Illinois’s Ban

        Illinois has tried to ban commonly owned firearms that are presumptively

protected by the Second Amendment and overwhelmingly used for lawful purposes.

That ban is unconstitutional under the standards articulated by the Supreme Court.

See, Heller, 554 U.S. at 625 (holding that the Second Amendment protects arms

“typically possessed by law-abiding citizens for lawful purposes.”).

        Bruen adopted a text-first approach that is informed by history and tradition.

Bruen, 142 S. Ct. at 2134–35. “[W]hen the Second Amendment’s plain text covers an

individual’s conduct, the Constitution presumptively protects that conduct.” Id. at

2129; id. at 2132 (“the Second Amendment extends, prima facie, to all instruments

that constitute bearable arms, even those that were not in existence at the time of

the founding”) (quoting Heller, 554 U.S. at 582). Thus, under Bruen, a court should

first look to whether something is an “arm,” and subsequent analysis looks to history

and tradition to determine which type of regulations “are consistent with the Nation’s

historical tradition of firearm regulation.” Id. at 2129–30.

        Unlike some difficult-to-interpret constitutional terms, the definition of

bearable “arms” is straightforward. For example, the term does not include F-16

fighter jets because no one can “bear” a fighter jet. And the amendment’s definition

of “arms” is no more restricted to 18th-century weapons than the First Amendment’s

definition of “speech” is restricted to parchment, town criers, and movable-type

printing. “[E]ven though the Second Amendment’s definition of ‘arms’ is fixed




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according to its historical understanding, that general definition covers modern

instruments that facilitate armed self-defense.” Bruen, 142 S. Ct. at 2132 (citing

Caetano, 577 U.S. at 411–12 (per curiam) (stun guns)). The relevant question is

whether a given “arm” is a bearable “modern instrument[] that facilitate[s] armed

self-defense.” Id. If the answer to that question is “yes,” then a court should presume

that the arm is protected and look to history and tradition to determine whether the

arm can nevertheless be banned.

       Some bearable arms can be prohibited because the Second Amendment doesn’t

guarantee “a right to keep and carry any weapon whatsoever in any manner

whatsoever and for whatever purpose.” Heller, 554 U.S. at 626; see also Bruen, 142

S. Ct. at 2132, 2143. When such “arms” can be prohibited depends on history and

tradition to overcome the textual threshold: “bearable arms” are “presumptively

protect[ed].” Id.

       It is beyond reasonable argument that MSRs and the other weapons subject to

Illinois’s law are bearable arms presumptively protected by the Second Amendment.

Millions of Americans, and an untold number of Illinoisans, keep and bear these arms

for lawful purposes. See, infra, Part II. The weapons’ “bearability” is a significant

reason why so many people prefer to use them for lawful purposes rather than other,

more cumbersome guns. Stephen P. Halbrook, America’s Rifle: The Case for the AR-

15, 8 (2022) (“They are particularly attractive for women and older individuals

because of their light weight and ease of use, particularly in comparison to

shotguns.”). The average “starting weight” for an unloaded AR-15 is around 6.4 lbs—




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7 lbs with a loaded 30-round magazine. Everyday Marksman, “Deal With

Compromise:       AR-15   Weight,    Capability,    and    Balance,”   (Feb.   8,   2022),

https://perma.cc/B8Y4-JHFC. By contrast, an M1 Garand, the semiautomatic rifle

that was the standard-issue weapon for American troops in World War II—a literal

“weapon of war”—weighs 9.5 lbs unloaded and around 11 lbs loaded. Id.

         Because the firearms banned by Illinois are “presumptively protect[ed]” by the

Second Amendment, the Court should next look to whether such weapons are

“typically possessed by law-abiding citizens for lawful purposes.” Heller, 554 U.S. at

625.

   II.      The Guns Targeted by Illinois’s Law Are Standard Semiautomatic
            Arms that Are Commonly Used for Self Defense and Other Lawful
            Purposes and Are Thus Protected by the Second Amendment

         Given that the guns banned by Illinois’s law are clearly “arms” that are

presumptively protected by the Second Amendment’s text, the next question is

whether banning such arms is “consistent with this Nation’s historical tradition of

firearm regulation.” Bruen, 142 S. Ct. at 2132. The “Second Amendment protects only

the carrying of weapons that are those ‘in common use at the time’” and doesn’t

protect arms that are “highly unusual in society at large.” Id. at 2143 (quoting Heller,

554 U.S. at 627). By any metric, the guns targeted by Illinois’s ban are “typically

possessed by law-abiding citizens for lawful purposes.” Heller, 554 U.S. at 625.




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   A. The Semiautomatic Rifles Banned by Illinois Are Used by Millions of
      Americans for Lawful Purposes

      Illinoisans have long used the banned guns for lawful purposes. It is irrelevant

that such guns are arguably “new” or that the arms are different than those that were

commonly used at the time of the ratification of the Second Amendment. Caetano,

577 U.S. at 420 (Alito, J., concurring in the judgment) (“[T]he pertinent Second

Amendment inquiry is whether stun guns are commonly possessed by law-abiding

citizens for lawful purposes today.”). The common nature of these weapons was

pointed out by Justice Thomas in 2015: “The overwhelming majority of citizens who

own and use such rifles do so for lawful purposes, including self-defense and target

shooting. Under our precedents, that is all that is needed for citizens to have a right

under the Second Amendment to keep such weapons.” Friedman v. City of Highland

Park, 136 S. Ct. 447, 449 (2015) (Thomas, J., dissenting from the denial of certiorari).

      Amicus has been unable to find specific data for how many modern sporting

rifles are owned by Illinoisans. It is unlikely such granular data exists because there

is no gun registry and Americans (and Illinoisans) often don’t want the government

to know what arms they own, which only underscores the difficulty of enforcing a ban

like Illinois’s. But nationwide surveys estimate that there are more than 24.4 million

MSRs in the country. National Shooting Sports Foundation, Commonly Owned:

NSSF Announces Over 24 Million MSRs in Circulation, (July 20, 2022) (“the firearm

industry trade association, updated the industry estimate of Modern Sporting Rifles

(MSRs) in circulation in the United States to 24,446,000 since 1990. That is an

increase of over 4.5 million rifles since the last estimate was released in 2020.”),



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https://perma.cc/2LX6-UN3B. As mentioned, that’s more than the number of Ford F-

Series pickup trucks on the road, which is the second most popular car in the country.

Id; Chase Gardner, “The Most Popular Cars in America (2022),” Insurify (Apr. 5,

2022), https://perma.cc/D4A3-934L.

       According to one survey, “[i]n 2021, 75 percent of those who shot a center-fire

rifle shot an MSR[,]” and of “the 66 percent who hunted with a center-fire rifle, 60

percent used an MSR.” Halbrook, America’s Rifle, supra at 1. In general,

semiautomatic rifles that accept detachable magazines have been commonplace in

America for at least a century. Id. at 2. It wasn’t until the rhetorical category of

“assault weapons” was invented in the late 1980s that there was any concerted effort

to ban these commonly owned firearms. Id.

       Illinois’s Governor J.B. Pritzker claimed that the banned guns are “weapons of

war,” and “mass-killing machines.” Amanda Vinicky, “Which Guns are Covered by

Illinois’      Assault      Weapons    Ban?,”     WTTW.com        (Feb.   16,     2023),

https://tinyurl.com/2kmfyhcs. Illinois Senate President Don Harmon said the law is

“against weapons whose only intent is to eviscerate other human beings.” Press

Release, “Gov. Pritzker Signs Legislation Banning Assault Weapons and High-

Capacity Magazines,” Illinois.gov (Jan. 10, 2023), https://tinyurl.com/5n8yxme6.

That would come as a surprise to people like Zack Peters, an Oklahoma man who

used an AR-15 to defend his home against three home invaders. Avalon Zoppo,

“Oklahoma Man Uses AR-15 to Kill Three Teen Home Intruders,” NBCNews.com

(Mar. 28, 2017), https://perma.cc/RX8B-6A7S. Or a pregnant woman in Florida who




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defended her home and her husband with an AR-15. David K. Li, “Pregnant woman

uses AR-15 to fatally shoot armed intruder,” NBCNews.com (Nov. 4, 2019),

https://perma.cc/TW7N-QN44. Or a man in Glen St. Mary, Florida, who defended

himself and his home with an AR-15 against seven armed intruders, discharging 30

rounds in the process. Garrett Pelican, “Deputies: 30 rounds fired from AR-15 in

deadly Florida home invasion,” New4Jax.com (Apr. 17, 2018), https://perma.cc/RE7J-

8XDS.

        Governor Pritzker’s comments would also come as a surprise to the significant

number of police departments that equip their officers with AR-15s and other “assault

weapons.” Police Executive Research Forum, Police Department Service Weapon

Survey 2 (2013), (“Ninety-three percent of responding agencies equip some of their

officers    with   rifles   or   assault   weapons.”),   https://perma.cc/5AMT-WNGN.

Presumably, departments don’t equip their officers with a weapon that are “mass-

killing machines.”

        A Massachusetts police training manual describes the utility of such weapons

for the lawful defense of self and others. The weapons are used “due to the increased

accuracy that the rifle afforded over the pistol and the shotgun.” Massachusetts

Municipal Police Training Committee, Basic Firearms Instructor Course: Patrol Rifle

3 (Sept. 2007), https://perma.cc/6HMQ-QS7W. The weapons are useful because the

department “found most officers have difficulty hitting the MPTC Q target with

regularity using their service pistol at distances further than the 10-yard line,” and

when you “factor in the stress level of a life and death encounter with rapidly evolving




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circumstances—the actual hit ratio drops even further.” Id. Ordinary citizens who

aren’t as extensively trained would of course suffer from similar difficulties.

Moreover, rather than being a distinctly powerful rifle, “the most popular patrol rifle

round, the 5.56mm NATO (.223 Remington) will penetrate fewer walls than service

pistol rounds or 12-gauge slugs,” thus lowering the possibility of accidents. Id. In

short, “[t]he rifle is a superior tool” for law enforcement officers in many situations.

Id. Law-abiding citizens use the rifles for the same purposes.

      Under the Supreme Court’s test articulated in Heller and expanded on in

Bruen, MSRs are in common use for lawful purposes. While the government points to

crimes being committed with MSRs and other guns singled out by Illinois’s law, that

criminals misuse weapons for horrible crimes does not negate the millions of people

who use the guns responsibly and legally. Any gun can be misused for horrible crimes.

The misuse of a constitutional right by some does not negate the constitutional rights

of others. The question the Supreme Court has directed courts to ask is whether the

weapons are “typically possessed by law-abiding citizens for lawful purposes.” Heller,

554 U.S. at 625 (emphasis added).

   B. The Arms Singled Out by Illinois’s Ban Are Standard Semiautomatic
      Rifles with Characteristics that Make Them More Effective for Lawful
      Uses
      As discussed above and in Appellees response brief, a type of weapon that

outnumbers one of the most popular cars in the country should be considered in

“common use.” Yet while the raw numbers show that Illinois’s ban targets commonly

used arms, the banned guns should be considered part of an even bigger category of

weapons—semiautomatic rifles—that are even more commonly used. The proper


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category for constitutional analysis is not simply so-called “assault weapons” or

“modern sporting rifles”—or whatever rhetoric is used to define the category—but

whether the prohibited weapons have characteristics that make them uniquely

suitable for unlawful purposes and unsuitable for lawful purposes.

      While the term “assault weapon” is a gun-control advocate’s rhetorical

invention, see, Blake, supra, amicus acknowledges that the term “modern sporting

rifle” is also a rhetorical invention used to counter the erroneous term “assault

weapon.” The important question for Second Amendment analysis is whether such

terms articulate a constitutionally relevant category of firearms that is not in

“common use” for lawful purposes. Mere rhetoric can’t trump constitutional text or

the Supreme Court’s interpretation of that text. To determine whether a certain

firearm is commonly used for lawful purposes, the firearm should be properly defined

with relevant characteristics.

      For example, a semiautomatic rifle that is painted hot pink would not be

considered “in common use” if the color is regarded as a salient feature (based on the

presumably safe assumption that relatively few people own hot pink semiautomatic

rifles). Yet a ban on a certain color of weapon should not survive even rational basis

review—a standard of review much lower than the Supreme Court has dictated for

the Second Amendment. Bruen, 142 S. Ct. 2127–28. This only underscores the

obvious fact that the function of any feature singled out for prohibition is relevant to

analyzing a law. In other words, the Second Amendment prohibits the government

from inventing a category of weapons—e.g. “hot pink semiautomatic rifles”—and then




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declaring such weapons are not in “common use.” More is required to clear the Second

Amendment’s hurdle.

      Illinois’s ban is not so transparently cosmetic as to ban certain colors of

weapons, yet the ban focuses on characteristics that are either mostly cosmetic or

characteristics that make the gun more effective for lawful uses. For example, 720

ILCS 5/24-1.9(a)(1)(A)(i)-(ii) bans semiautomatic rifles that accept detachable

magazines that have a “pistol grip” and those with a “protruding grip that can be held

by the non-trigger hand.” Such grips help the shooter pull the weapon comfortably

against his/her shoulder for better control. Halbrook, America’s Rifle, supra, at 14.

Any law-abiding gun owner cares about accuracy because shooting an inaccurate gun

is both dangerous to others and relatively ineffective for law-abiding uses. The odd

implication here is that law-abiding citizens should apparently have guns that are

less easy to control, while criminals evidently prefer more accurate guns. Similarly,

720 ILCS 5/24-1.9(a)(1)(A)(iii) bans semiautomatic rifles with folding or telescoping

stocks that allow users to better adjust the weapon to their height. It’s common sense

that a short person shooting an exceptionally long gun will not be able to control the

gun as well as a gun more tailored to her size. And 720 ILCS 5/24-1.9(a)(1)(A)(vi) bans

semiautomatic rifles that accept detachable magazines that have barrel shrouds,

which allow “the bearer to hold the firearm with the non-trigger hand without being

burned.” This is a particularly strange acknowledgement that a law-abiding gun

owner who does not want to get burned is apparently preferring a characteristic that

only criminals would want.




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       It’s an interesting world Illinois wants to bring about: a world where criminals

who acquire and use the banned guns are better equipped with more accurate guns

(that don’t burn them) than law-abiding citizens. If a law-abiding citizen diligently

obeys the Illinois ban, they will be deprived of more accurate and effective weapons

for authorized purposes like self-defense, hunting, target shooting, and defense

against oppressive government. A criminal who chooses to disobey the ban—as a

criminal is more likely to do—will have a more effective weapon for criminal

activities.

       Rather than identifying uniquely dangerous characteristics for prohibition,

Illinois’s ban singles out aspects that help make standard semiautomatic rifles more

reliable, accurate, and comfortable for law-abiding users.

   III.    The Military’s Use of Analogs              to     “Assault     Weapons”   Is
           Constitutionally Irrelevant

       The government highlights the fact that so-called “assault weapons” are

“weapons of war.” In the consolidated case of Herrera v. Raoul, Defendant-appellees

Cook County describe “assault weapons” as “weapons of war” that are “methodically

designed to quickly maximize casualties on a battlefield.” Cook County Br. at 5. They

also claim that “there is not a meaningful difference between the military-grade M-

16 and the civilian AR-15[.]” Id. at 7. These claims are false. Yet, even if true, the

Second Amendment protects a civilian’s right to own small arms that are also used

by the military. Heller, 554 U.S. at 624–25 (2008) (internal quotation marks omitted)

(quoting State v. Kessler, 614 P.2d 94, 98 (Or. 1980)) (“[i]n the colonial and




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revolutionary era, [small arms] weapons used by militiamen and weapons used in

defense of person and home were one and the same.”).

      First, it would be odd if the military’s adoption of a particular small arm

changed the constitutional protection of that arm for civilians. Such a theory would

move small arms in and out of constitutional protection based on the complexities of

military procurement and strategy. Moreover, the military adopts small arms for a

variety of reasons that are not entirely related to lethality or to “quickly maximize

casualties on a battlefield.”

      The government highlights the military’s use of analogs to civilian-available

“assault weapons” as a reason to believe that such weapons have no valid lawful

purpose in civilian hands. See, e.g., State.Br.29 (“their features render them uniquely

effective as weapons of war”). The implicit assumption is that the military primarily

chooses a small arm based on its ability to kill as many people as quickly as possible.

This is wrong. The military considers numerous factors in choosing a weapon, such

as “mission adaptability, weight, reliability, maintenance, and cost.” E. Gregory

Wallace, “Assault Weapon” Lethality, 88 Tenn. L. Rev 1, 7–8 (2020). In fact, those

considerations are not dissimilar to why a civilian may prefer an “assault weapon”

for self-defense and sporting reasons.

      What makes a particular gun more or less lethal depends on a variety of

factors. The U.S. military did not choose the M-16 because it is the most effective

known weapon for killing enemy troops. Id. at 8–10. Some ammunition, such as the

5.56mm NATO rounds used by the M-16 and M4—which is nearly identical to the




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.223 Remington round used by many modern sporting rifles—is preferred because it

less lethal per shot but lighter, thus allowing troops to carry more rounds. Id. at 8.

Yet a bigger round, such as the .30-06 round used by the M1 Garand in World War

II—could be more lethal but also much heavier for soldiers to carry around, and how

much weight a soldier carries is an important factor. Id. Which gun is more “lethal”?

       In fact, many have criticized the U.S. military’s use of the M-16 and M4 rifles

because the rifles are not lethal enough. See, e.g., Joseph P. Avery, An Army

Outgunned: Physics Demands a New Basic Combat Weapon, Mil. Rev., July–Aug.

2012 (“Despite an increasing portfolio of enemies that are flexible, well-armed, and

robust, our Army, Marine Corps, and special operations forces have been stuck for

decades hauling assault rifles firing NATO 5.56x45 millimeter (mm) (.223 caliber)

varmint rounds over a half-century old.”), https://tinyurl.com/54ehupba. During the

Battle of Mogadishu in 1993, famously recounted in the book and movie Black Hawk

Down, soldiers complained that the 5.56mm rounds used—which are, again, nearly

identical to the .223 Remington civilian round—lacked stopping power. Shooting

someone “was like sticking somebody with an ice pick. The bullet made a small, clean

hole, and unless it happened to hit the heart or spine, it wasn’t enough to stop a man

in his tracks. [The soldier] felt like he had to hit a guy five or six times just to get his

attention.” Mark Bowden, Black Hawk Down: A Story of Modern War 208 (1999).

       Recent studies and surveys have shown that many servicemen and women

request ammunition with more stopping power and lethality. Wallace, “Assault

Weapon” Lethality, supra at 11. A 2006 test by the U.S. Joint Service Wound Ballistics




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Integrated Product Team concluded that a 6.8mm round is more effective than the

5.56mm round, and “[t]he next generation of combat rifles likely will use a more

effective intermediate caliber round between 6.5mm and 7.0mm rather than the

smaller 5.56mm round.” Id. at 11. Yet even if the military moves away from variants

of civilian modern sporting rifles, that shouldn’t affect the constitutional status of so-

called “assault weapons.”

      This is not to say that modern sporting rifles such as the AR-15 are not lethal,

as all guns are. The relevant question is whether they are particularly or uniquely

lethal compared to other semiautomatic civilian rifles that are not banned. The

military’s choice to use a variant of these guns shouldn’t be regarded as

demonstrating a level of danger such that the guns can be constitutionally banned

from civilians.

      Moreover, the difference between the military’s M-16 and the civilian AR-15 is

not merely incidental to the rifle’s use in military contexts. E. Gregory Wallace,

“Assault Weapon” Myths, 43 S. Ill. U. L.J. 193, 205–06 (2018). That civilian-available

semiautomatic rifles share functionality with military rifles—namely semiautomatic

fire—does not make them “weapons of war.” “[S]emi-automatic fire is useful in law

enforcement and military situations because it is useful in all legitimate shooting

applications.” Dennis Chapman, Firearms Chimera: The Counter Productive

Campaign to Ban the AR-15 Rifle, 8 Belmont L. Rev. 191, 205 (2020). The crucial

difference is selective-fire capability (the ability to choose fully automatic or burst

fire), and that capability “is the only significant uniquely military firearms feature.”




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Id. The ability to choose automatic fire creates unique functionality for military

applications. Id. at 206 (“automatic fire enables an attacker to direct such a high

volume of fire at that enemy that he is suppressed—that is to say, the intensity of the

attacker’s fire materially degrades the defender’s ability to return effective fire or to

maneuver to counter the attack.”). There is a better argument that such guns are

uniquely suited for military applications and therefore can be more heavily regulated

in civilian hands, as they are under the National Firearms Act.2 Such an argument

would at least identify a unique capability of the military’s rifles that is not a trait—

semiautomatic fire—shared by hundreds of millions of guns in private hands.

    IV.      “Assault Weapons” Are Not “Dangerous and Unusual” Compared
             to Other Common Firearms

          As described above, the Supreme Court has been clear that weapons that are

commonly owned by law-abiding citizens for lawful purposes cannot be banned under

the Second Amendment. Weapons that can be banned are those that are “dangerous

and unusual,” which also means they are not in common use for law abiding purposes.

Bruen, 142 S. Ct. at 2143; Heller, 554 U.S. at 627 (emphasis added). MSRs are normal,

commonly owned semiautomatic rifles that are neither dangerous nor unusual.

          MSRs are semiautomatic—or “self-loading”—meaning they discharge a single

shot per trigger pull and the next round loads into the chamber without any

intervening action—such as cocking—by the user, at least until the gun jams or the

ammunition is depleted. Some activists and judges have claimed that a


2Amicus does not concede the constitutionality of the National Firearms Act. However, identifying a
unique difference between the military’s firearms and civilian-owned analogs is a better argument
than what the government offers here.


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semiautomatic rifle like the AR-15 can fire at essentially the same rate as a fully

automatic machine gun. Cook County Br. at 7 (claiming that the AR-15 can fire 300

rounds per minute); see also Kolbe, 849 F.3d at 136 (claiming that the firing rate of

the AR-15 is “nearly identical” to a fully automatic M-16). This is false and doesn’t

stand up to cursory scrutiny. To fire 300 to 500 rounds in a minute, as a fully

automatic M-16 can do, a shooter would have to pull the trigger five to eight times a

second for 60 seconds, something beyond the capabilities of the human body. Wallace,

“Assault Weapon” Lethality, supra at 20. Rather than being uniquely dangerous,

“[t]here is little if any difference between the rates of fire for the semiautomatic AR-

15 and a semiautomatic handgun.” Id. at 25.

      While it is difficult to estimate how many semiautomatic weapons there are in

the country, they are extremely common and equally—rather than uniquely—

dangerous. Most pistols are semiautomatic, as is any rifle that is not single shot, bolt

action, lever action, slide action, or pump action, which are the most common forms

of non-semiautomatic rifle. The total number of semiautomatics is likely more than

200 million, and all can fire as quickly as the user can pull the trigger.

      Nor are the rounds fired from an MSR uniquely dangerous compared to other

commonly owned weapons, despite numerous claims to the contrary. See, e.g., Glenn

Kessler, “Biden bungled talking point on the muzzle velocity of AR-15s,” Wash. Post

(Sept. 2, 2022), (noting that President Biden was “clearly wrong” in his claim that

AR-15s fire five times faster than any other gun), https://tinyurl.com/jjxx3s6t. In fact,

the round that most MSRs fire, the .223 Remington, is considered by many states to




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be too weak to hunt deer because the round will only cruelly injure rather than kill

the animal. Wallace, “Assault Weapon” Lethality, supra at 54. And, as discussed

supra, many military analysts complain that the M-16 is underpowered because it

fires a variant of “a commercial Remington rifle cartridge that had been designed to

kill small varmints.” Robert H. Scales, “Gun Trouble,” Atlantic (Jan./Feb. 2015),

https://tinyurl.com/bddah2n2.

      When looking at crime rates, MSRs are also not uniquely dangerous. As

mentioned supra, according to the National Shooting Sports Foundation (NSSF),

there are approximately 24.4 million MSRs in the country, which is about 6 percent

of all weapons, including both rifles and handguns. Commonly Owned, supra;

Christopher Ingram, “There are more guns than people in the United States,

according to a new study of global firearm ownership,” Wash. Post (June 19, 2018),

https://tinyurl.com/3k9vunum. MSRs are a subset of rifles, and it is difficult to

estimate how many rifles there are in the country because there are few updated

statistics and gun owners don’t like to tell the government what they have.

Nevertheless, a 2012 estimate found 110 million rifles out of the approximately 310

million total guns at the time, or 35 percent. William J. Krouse, “How Many Guns

Are   in   the   United   States?—Number,”      U.S.   Cong.   Res.   Serv.    (2012),

https://tinyurl.com/bdf5dhkr. Although there is a paucity of recent numbers, it is

reasonable to assume that the ratio of 35 percent would hold true just over a decade

later. Currently, it’s estimated that there are approximately 400 million guns in the

country, meaning approximately 140 million rifles (35 percent of 400 million).




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Ingram, supra. The NSSF estimate of 24.4 million MSRs would equate to about 17

percent of all rifles.

       Rifles, in general, are used in very few crimes. In 2019, according to FBI crime

statistics, rifles of any kind—of which MSRs are a subset—were used to kill 364

people.3 Handguns killed 6,368. FBI, “2019 Crime in the United States: Expanded

Homicide       Data      Table      8—Murder          Victims     by     Weapon       2015–2019,”

https://tinyurl.com/33vcyyfd. In the four previous years, starting in 2015, rifles killed

215, 300, 389, and 305 people, respectively, and handguns in those years killed a

similar number, between 6,000–7,000. Id. Each of those years, about 1,500 people

were killed with “knives and cutting instruments,” and around 600–700 were killed

with “personal weapons” such as fists and feet. Id.

       While the data are not deep enough to determine how many murders with

rifles were committed with MSRs, it’s reasonable to assume something around 17

percent, the same ratio of MSRs to total rifles. That would be 62 murders. If we double

that percentage and round up—assuming 40 percent of all murders with rifles were

perpetrated with MSRs—then we get 146 murders.

       One hundred and forty-six murders is a lot, but it has to be looked at

comparatively and with the question of whether the data show the guns are uniquely

dangerous.




3 2019 is the most recent year there is a reliable breakdown of weapons used in crime. The FBI
changed how it tracks crime data starting in 2020, and “[l]aw enforcement agencies covering just
over half of the population reported a full year’s worth of data to the FBI in 2021.” Ames Grawert &
Noah Kim, “Understanding the FBI’s 2021 Crime Data,” Brennan Ctr. for Justice (Oct. 4, 2022),
https://tinyurl.com/bdezhk29.


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         In 2019, there were 10,258 total homicides with firearms. Assuming the higher

estimate of how many murders were caused by MSRs—146—means that 1.4 percent

of murders in 2019 were perpetrated with MSRs. With 24.4 million MSRs and

approximately 146 murders, and assuming one gun per homicide, means that around

0.000006 percent of MSRs are used to kill.

         Of course, raw numbers of crimes committed don’t entirely explain whether a

type of firearm can be considered uniquely dangerous. Some firearms may have

particularly lethal capabilities and are essentially never used for crime. A grenade

launcher, for example, is a bearable arm that is distinct in how it operates—a wide

explosion rather than a targeted bullet—and amicus were unable to find one instance

of a crime being committed with the weapon.4 That is one reason the Supreme Court’s

test is conjunctive—“both dangerous and unusual,” Caetano, 577 U.S. at 417 (Alito,

J., concurring in the judgment)—and why the “common use” test makes conceptual

sense.

         MSRs are both extremely commonly used for lawful purposes and neither

dangerous nor unusual, thus meriting the full protection of the Second Amendment.




4 It is worth noting that Illinois does not prohibit the possession of large bore “destructive devices”
(like grenade launchers) as long as the device is registered in accordance with federal law. Illinois’s
new law requires non-transferable registration of MSRs, yet, under federal law, grenade launchers
can be registered with a transferable license. In other words, defendants seek to regulate common
rifles more strictly than grenade launchers. See 720 ILCS 5/24-1, 2.


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                                  CONCLUSION

      For the forgoing reasons, HB5471 unconstitutionally bans firearms that are

commonly used by law-abiding persons for lawful reasons. The Court should affirm

the preliminary injunction in the consolidated Barnett cases.

      Respectfully submitted,



DATED: June 22, 2023

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      1. This brief complies with the type-volume limitation of Fed. R. App. P.

29(a)(5) and 7th Cir. R. 29 because it contains 6,118 words, excluding the parts

exempted by Fed. R. App. P. 32(f).

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/s/ Trevor Burrus
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                          CERTIFICATE OF SERVICE

      I hereby certify that on June 22, 2023, I electronically filed the foregoing with

the Clerk of Court for the United States Court of Appeals for the Seventh Circuit by

using the CM/ECF system. I certify that all participants in this case are registered

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